   Case: 1:18-cv-05587 Document #: 376 Filed: 05/21/19 Page 1 of 4 PageID #:6164



                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
                                        _
                                          )
U.S. SECURITIES AND EXCHANGE              )
COMMISSION,                               )
                                          )
                        Plaintiff,        )    Civil Action No. 18-CV-5587
                                          )
                 v.                       )    Judge John Z. Lee
                                          )
EQUITYBUILD, INC., et al.,                )    Magistrate Judge Young B. Kim
                                          )
                        Defendants.       )
                                          )

           SEC’S RESPONSE TO LIBERTY EBCP, LLC’S OBJECTIONS
      TO MAGISTRATE JUDGE KIM’S MAY 2, 2019 MEMORANDUM OPINION

       Liberty devotes nearly half of its Objections (ECF No. 359) to arguing that the sale

process authorized by Magistrate Judge Kim runs afoul of the public sale requirements contained

in 28 U.S.C. § 2001(a). But Liberty, and the other lenders who join its objections (ECF No.

363), fail to apprise the Court that Section 2001(a) provides specific procedures for the sale of

real estate held by a court-appointed receiver. Those receiver-specific procedures do not, as

Liberty claims, require sale at the county courthouse or at the subject property:

       Property in the possession of a receiver or receivers appointed by one or more district
       courts shall be sold at public sale in the district wherein any such receiver was first
       appointed, at the courthouse of the county, parish, or city situated therein in which the
       greater part of the property in such district is located, or on the premises or some parcel
       thereof located in such county, parish, or city, as such court directs…

28 U.S.C. § 2001(a) (emphasis added).

       As recognized by Judge St. Eve, real estate sales by receivers are governed by this

specific provision of Section 2001(a), not the general provision cited by Liberty. Pennant Mgmt.

v. First Farmers Fin., LLC, 2015 U.S. Dist. LEXIS 118222, *23-*24 (N.D. Ill. Sept. 4, 2015)



                                                 1
    Case: 1:18-cv-05587 Document #: 376 Filed: 05/21/19 Page 2 of 4 PageID #:6165



(approving “sophisticated public auction process” for receivership property that did not occur at

county courthouse or on the subject real estate).

       Because the sales process authorized by Magistrate Judge Kim contemplates a public sale

of receivership property taking place in this district – the same district where this Court

appointed Mr. Duff as receiver – that process satisfies the requirements of Section 2001(a).1

However, even if that sale process did somehow deviate from the “archaic procedures” of

Section 2001(a), the Court may still approve the process to avoid “hamper[ing] the sales” of the

receivership property. Pennant Mgmt., 2015 U.S. Dist. LEXIS 118222, *24-25 (approving

auction process that “obtained a better result than if the Receivers would have only followed the

requirements contained in [28 U.S.C. §§ 2001 and 2002].”).2

                                          *         *    *

       Liberty’s remaining objections concern the procedures for credit bidding and bidding by

property managers. The SEC submits that the Receiver should be given significant discretion to

utilize sale procedures that reflect his business judgment on how to efficiently administer the

estate and maximize the collective recovery for creditors, including the investor victims of the

Cohens’ Ponzi scheme.




1
  At the hearing on the Receiver’s motion to approve sale procedures for the first tranche of real
estate, Magistrate Judge Kim observed that the receiver-specific provision of Section 2001(a)
applies in this case and does not require a sale at the county courthouse. (Nov. 21, 2018 Hearing
Tr. at 3:16-4:6). Ms. Nicholson, who filed the motion on behalf of multiple lenders to join
Liberty’s present objections (ECF No. 363), responded: “I don’t have a problem with [Section]
2001.” (Id. at 4:8-9). As for Liberty, its counsel responded as follows when Magistrate Judge
Kim recited the receiver-specific provision of Section 2001(a): “That’s not my recollection.”
(Id. at 3:16-4:15).
2
 Liberty concedes that the Receiver’s proposed sales process satisfies the notice requirements of
28 U.S.C. § 2002. (ECF No. 359, p. 6 (“The marketing process proposed by the Receiver
complies with Section 2002.”)).

                                                    2
  Case: 1:18-cv-05587 Document #: 376 Filed: 05/21/19 Page 3 of 4 PageID #:6166



Dated: May 21, 2019                        Respectfully submitted,

                                            /s/ Benjamin Hanauer
                                           Benjamin J. Hanauer (hanauerb@sec.gov)
                                           Timothy J. Stockwell (stockwellt@sec.gov)
                                           U.S. Securities and Exchange Commission
                                           175 West Jackson Blvd., Suite 1450
                                           Chicago, IL 60604
                                           Phone: (312) 353-7390
                                           Facsimile: (312) 353-7398




                                       3
   Case: 1:18-cv-05587 Document #: 376 Filed: 05/21/19 Page 4 of 4 PageID #:6167



                                CERTIFICATE OF SERVICE

       I hereby certify that I provided service of the foregoing Response, via ECF filing, to all

counsel of record and Defendant Shaun Cohen, on May 21, 2019. I further certify that I caused

the foregoing Response to be served on Defendant Jerome Cohen, via email delivery, at

jerryc@reagan.com.



                                             _/s/ Benjamin Hanauer_______________________
                                             Benjamin J. Hanauer
                                             175 West Jackson Blvd., Suite 1450
                                             Chicago, IL 60604
                                             Phone: (312) 353-7390
                                             Facsimile: (312) 353-7398

                                             One of the Attorneys for Plaintiff




                                                4
